    Case 1:11-cr-00027-IMK-MJA Document 749 Filed 09/11/13 Page 1 of 6 PageID #: 3737
AO 245D       (Rev. 09/08) Judgment in a Criminal Case for Revocations
              Sheet 1
                                                                                                                         EP I t

                                     UNITED STATES DISTRICT COURT
                    NORTHERN                                     District of                           WEST VIRGINIA

        UNITED STATES OF AMERICA                                          Judgment in a Criminal Case
                   v.                                                     (For Revocation of Probation or Supervised Release)

             NANCY JO NICHOLAS                                                                                                 -
                                                                          CaseNo.                          1:11CR027-Ob
                                                                          USM No.                         07760-087
                                                                          Brian J. Kornbrath
THE DEFENDANT:                                                                                     Defendant’s Attorney

X   admitted guilt to violation of         Mand. Cond. Not. Stand. Cond. No.7              of the term of supervision.
LI was found in violation of                                                           after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number              Nature of Violation                                                               Violation Ended
1. Mand. Cond. No. I          Possession of buprenorphine (Suboxone)
2. Stand. Cond. No. 7         Urine specimens positive for buprenorphine (Suboxone)                             09/09/20 13




       The defendant is sentenced as provided in pages 2 through                6      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

X   The defendant has not violated condition(s)                  No. 3              and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.:              8649                                        September 9. 2013
                                                                                                    Date of Imposition of Judgment
Defendanfs Year of Birth          1965

City and State of Defendant’s Residence:
                                                                                                          _..      4
                                                                                                          Signature of Judge
                        Clarksbur, WV
                                                                                       Honorable Irene M. Keelev. U.S. District Court
                                                                                                    Name and Title of Judge


                                                                                         /4&’
       Case 1:11-cr-00027-IMK-MJA Document 749 Filed 09/11/13 Page 2 of 6 PageID #: 3738

AO 245D       (Rev. 09/08) Judgment in a Criminal Case for Revocations
              Sheet 2   —   Imprisonment
                                                                                                Judgment   —   Page   2   of      6
DEFENDANT:                   NANCY JO NICHOLAS
CASE NUMBER:                 1:1 1CR027-015
                                                             IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:     6 months




  x     The court makes the following recommendations to the Bureau of Prisons:

        x    That the defendant be incarcerated at an FCI or a facility as close to home in Clarksburg, WV as possible:
             x      and at a facility where the defendant’s medical condition can be addressed.




        x    That the defendant be allowed to participate in any educational or vocational opportunities while incarcerated, as
             determined by the Bureau of Prisons.
        Pursuant to 42 U.S.C. § l4l35A, the defendant shall submit to DNA collection while incarcerated in the Bureau of Prisons,
        or at the direction of the Probation Officer.

        The defendant is remanded to the custody of the United States Marshal.

  X The defendant shall surrender to the United States Marshal br this district: (Pending a decision from the Court)
        El   at                                 El     am.     El p.m.      on

        El   as notified by the United States Marshal.

  D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        El   before 2 p.m. on

        El   as notified by the United States Marshal.

        El   as notified by the Probation or Pretrial Services Office.

        El   on                                  as directed by the United States Marshals Service.

                                                                    RETURN

I have executed this judgment as follows:


        Defendant delivered on                                                          to

  at                                        ,        with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                         DEPUTY UNITED STATES MARSHAL
          Case 1:11-cr-00027-IMK-MJA Document 749 Filed 09/11/13 Page 3 of 6 PageID #: 3739
AO 245D          (Rev. 09/08) Judgment in a Criminal Case for Revocations
                 Sheet 3 —  Supervised Release
                                                                                                       Judgment—Page          3     of         6
DEFENDANT:                   NANCY JO NICHOLAS
CASE NUMBER:                 1:1 1CRO27-015
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:                          66 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
         The above drug testing condition is suspended. based on the court’s determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
         The above drug testing condition is suspended. based on the court’s determination that this condition has been satisfied during
          a previous term of supervision. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
D        The defendant shall cooperate in the collection of DNA as directed by the probation officer unless previously collected by the
         Bureau of Prisons. (Check, if applicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et.
         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)       the defendant shall support his or her dependents and meet other family responsibilities:
  5)      the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training, or other
          acceptable reasons:
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
    8)    the delBndant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court: and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
      Case 1:11-cr-00027-IMK-MJA Document 749 Filed 09/11/13 Page 4 of 6 PageID #: 3740

A0 245D      (Rev. 09/08) Judgment in a Criminal Case for Revocations
             Sheet 4— Special Conditions
                                                                                                   Judgment—Page      1     of          6
DEFENDANT:   NANCY JO NICHOLAS
CASE NUMBER: 1:1 1CR027-015

                                          SPECIAL CONDITIONS OF SUPERVISION

1.         The defendant shall participate in a program of testing, and if necessary, counseling and treatment for the use of alcohol
           or drugs, until such time as the defendant is released from the program by the Probation Officer.
2.         The defendant shall participate in a program of mental health treatment, if deemed necessary by the Probation Officer,
           until such time as the defendant is released from the program by the Probation Officer.
3.         The defendant shall be drug tested once within the first 15 days of supervision and thereafter monthly, as directed by
           the Probation Officer.
4.         Upon reasonable suspicion, the defendant shall submit his or her person, property, house, residence, vehicle, papers,
           computers (as defined in 18 U.S.C. 1030(e)(1)), other electronic communications or data storage devices or media,
           or office, to a search conducted by a United States Probation Officer. Failure to submit to a search may be grounds for
           revocation of release. The defendant shall warn any other occupants that the premises may be subject to searches
           pursuant to this condition.




         Upon a finding ofa violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.
           These standard and/or special conditions have been read to me. I fully understand the conditions and have been provided a copy
of them.



           Defendant’s Signature                                                 Date



           Signature of U.S. Probation Officer/Designated Witness                         Date
          Case 1:11-cr-00027-IMK-MJA Document 749 Filed 09/11/13 Page 5 of 6 PageID #: 3741

AO 245D     (Rev. 09/08) Judgment in a Criminal Case for Revocations
            Sheet 5    Criminal Monetary Penalties

                                                                                                              Judgment—Page       5    of       6
DEFENDANT:                         NANCY JO NICHOLAS
CASE NUMBER:                       1:1 1CR027-015
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                      Assessment                                               Fine                                 Restitution
TOTALS            $   100.00(balancestilldue)                           $      -0-                                $ -0-

     The determination of restitution is deferred until                 .   An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

U    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

     The victim’s recovery is limited to the amount of their loss and the defendant’s liability for restitution ceases if and when the victim receives
     full restitution.

Name of Payee                                 Total Loss*                              Restitution Ordered                    Priority or Percentage




TOTALS                                S                                              S__________________


LI   Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution or a tine more than 52.500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment. pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

U    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      U the interest requirement is waived for the              U fine            U restitution.
      U the interest requirement for the           U     fine      UI       restitution is modified as follows:
* Findings for the
                   total amount of losses are required under Chapters 1 09A, 110, 11 0A, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
          Case 1:11-cr-00027-IMK-MJA Document 749 Filed 09/11/13 Page 6 of 6 PageID #: 3742

AO 245D     (Rev. 09/08) Judgment in a Criminal Case for Revocations
            Sheet 6—   Schedule of Payments

                                                                                                           Judgment   —   Page   6   of      6
DEFENDANT:                  NANCY JO NICHOLAS
CASE NUMBER:                1:1 1CR027-015
                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    LI Lump sum payment of S                                    due immediately, balance due

           LI not later than                                           ,   or
           LI in accordance with LI C,              LI D,      LI E, LI F, or LI G below); or
B    X     Payment to begin immediately (may be combined with                   LI C,   LI D,   X F, or   LI G below); or
C    LI Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    LI    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    LI Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at this time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           Financial obligations ordered are to be paid while the defendant is incarcerated, and if payment is not completed during
           incarceration, it is to be completed by the end of the term of supervised release; or


G    LI Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall immediately begin making restitution and/or fine payments of                     per month. due on the first
                                                                                                    $_________________




           of each month. These payments shall be made during incarceration, and if necessary. during supervised release.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to Clerk, U. S. District Court, Northern District of West Virginia, P.O.
Box 1518, Elkins, WV 26241.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



LI   Joint and Several

     Restitution is to be paid joint and several with other related cases convicted in Docket Number(s):




LI   The defendant shall pay the cost of prosecution.

LI   The defendant shall pay the following court cost(s):

LI   The defendant shall forfeit the defendant’s interest in the following property to the United States:

     Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
     fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
